       Case 1:16-cr-10343-ADB Document 1117 Filed 01/06/20 Page 1 of 2



                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
                  v.                       )
                                           ) Criminal No: 16-10343-ADB
SUNRISE LEE                                )
                  Defendant.               )
__________________________________________)

    DEFENDANT LEE’S UNOPPOSED MOTION TO SEAL AFFIDAVIT OF
    COUNSEL AND NOTICE OF COMPLIANCE WITH ORDER [Doc.1116]

      NOW COMES the Defendant, Sunrise Lee, through counsel, and hereby moves

this Honorable Court to seal the Affidavit of counsel submitted in support of the

Defendant’s Motion to Continue Sentencing [Doc. 1086]. It is respectfully submitted that

that Affidavit should be sealed as it contains protected medical information. The

Government through its representative AUSA David Lazarus has indicated that the

Government does not object to the sealing of this Affidavit. Counsel further states that he

has provided the Government with a copy of the Affidavit pursuant to this Court’s Order

dated today [Doc. 1116].

                                          Respectfully Submitted,




                                          Peter Charles Horstmann, Esq.
                                          BBO #556377
                                          450 Lexington Street, Suite 450
                                          Newton, Massachusetts 02466
                                          (617) 723-1980

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       Case 1:16-cr-10343-ADB Document 1117 Filed 01/06/20 Page 2 of 2




                           CERTIFICATE OF SERVICE

I, Peter Charles Horstmann, Esquire herby certify that a copy of the instant motion was
filed through the ECF system and served upon all counsel of record including the United
States through its representatives AUSAs Nathaniel Yeager, Fred Wyshak and David
Lazarus, 1 Courthouse Way, Boston, MA 02110 on January 6, 2020.




                                        Peter Charles Horstmann, Esq.




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